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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE

KELLI PETERS, CASE NO. 30-2012-00588580-CU-PO-CIC
Plaintiff Assigned to: Fudge Michael Bronner
METERTECED| JUDGMENT ON
KENT W. EASTER, JORY VERDICT

Dete Action Filed:  Angust 2, 2012
Defendants, - ‘Trial Date: February 2, 2016

‘This action came on regularly fox tral on Februmy 2, 2016 in Department C-62 of the
Orange County Superior Court, the Hon. Michael Brenner, Judge presiding; the defendants Kent Ww,
Easter and iil B, Easter, sls Ava Everheert, aka Ava Bjork, ake Ava Easter, appetting in pro per
lond plaintiffs Kelli Poters, Bill Peters, and Sydnle Peters (waned as “IANE DOE") (collectively,
Plaintiffs”) appearing by attorneys Robert H, Mercereat & Sy Nazif, The following fists were
|stipulated to im this case:

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JUDGMENT ON JURY VREDICT

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1, On Febromy 16,2011, Defendants Kent Bastec and Jill Easter (A) planted illegal drugs and
drug perephomtalia in Plaintiff Kelli Peters’ car, including bags of Vicodin, Percocet and
Matijuens and a. used Marijuana pipe: and (8) made a false report to Irvine Police that they
witnessed Kelli Peters driving emmdiosily and hiding drugs in her car; which (C) resulted in
the detention and investigation of Plaintiff Kelli Peters by police.

2. The actions of Kent and Jill Raster caused emotional distress to Plaintifth Kelli Peters, her
husband Bill Peters, and their daughter, Jane Doe.

3, On Cotober 30, 2013, Defendant Ji B, Banter pleaded guilty to felony false imprisonment of
Plaintiff Kelli Peters pursuant to Penal Code 236/237 in Oomnge County Superior Court,
Case No. 12ZF0153,

4. On September 10, 2014, Defendant Kent W. Easter wes convicted of felony fils:
imprisonment of Plaintiff Kelli Peters pursuant to Penni Code 236/237 in Orange County
Superior Court, Caso No. 12ZF0153.

5, Defendants Kent Bester and Jill Raster are solely maponsible for the wrongful aots against
Plaintiffs, and no other persons assisted them or participated in thes acts.

6. Based on the above, Defendants Kent W. Hester and Jill B. Easter, jointly and severally,
stipulated to ability in this lawault as follows:

a. Detimdauts stipulate to lisbility fhe the First Cause of Action in tho First Amended
Complaint, “Intentional infliction of Emotional Distrow* as to ell Plaintifis (Kelki
Potors, Bill Peters, and theic daughter Jenz Doe);

b, Defendants stipulate to lability as to the Third Cause of Action in the First Amended
Complaint, “False Imprisonment,” es to Plaintiff Kelli Peters.

A juty of twelve pemons {plus two alternates) was cegulady impaneled and swom.
Witnceses were swom and testified, After hearing the evidence and stpuments of the parties, tho
was daly instructed by the Court and the case was submitted to the jury. Ths jury deliberated
and thereafler returned into court with its verdict as follows:

JUDGMENT ON JURY VERDICT

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We the Jury answer the questions submitted to us as follows:

1. What are Kelli Peters’ damages for Fakes Imprisonment?
$365,000

2, What are Kelli Peters’ damages for Intentional Infliction of Emotional Distreas?
3800,000

3. What ave Bill Peters’ damages for Intentional infliction of Emotional Distress?
$365,000

}4. What are Sydnic Paters’ deronges for Intentional infliction of Emotional Distress?
$600,000

5. Did Kent W. Easter engage in the conduct with malice, oppression, or fraud?
x Yes No

[if your answer to question 5 is yea, then answer question 6. Ifyou answered no,
jmove to question 7,]

6, What amount of punitive damages, if any, do you award Plaintifiy jointly against Kent W.
aster’?

$1.5 million

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JUDGMENT ON JURY VERDICT

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7. Did Jill B, Easter (ake Ave Easter, aku Ava Bjork, aka Ava Everheart) engage in the
conduct with malice, oppression, or fraud?

x. ¥es —___.. No
[if your answer to question 7 is yes, then answer question 8, If you answered no, stop
there, answer no further questions, and have the presiding juror sign and date this form]
8. What emount of punitive dimuges, if eny, do you award Plaintiffs jointly against Jill B,
Easter (aka Ava Haster, aka Ava Bjork, aie Ava Everheart)?

ok oni

Signed: = =___/a/ CW Jameson _
Presiding Juror
Dated: 25-16

After all verdiet forms have been signed, notify the [clerkibatiifficeart attecdant] that you are
ready to present your verdict in the courtroom

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED thet Plaintiffs stat
have and recover from. defendants as follows:

Plaintiff Kelli Poiors shell have and recover against Kent W, Raster and Jill B. Easter (aka
Ava Raster, ska Ava Bjosk, oka Ava Bverhéert), jointly and severally, the sum of
$800,000.00.

Plaintiff Sydnic Peters (identified in this case as “JANE DOE”), shall have and recover
lagainst Kent W. Easter and Jill 1B. Raster (aka Ava Raster, aka Ava Bjork, aka Ava Everheart),
jointly and severally, the sum of $600,000.00.

Plaintiff Bill Peters, shall have and recover ageinst Kent W. Bastor and Jill B, Baster (aka
Ava Haster, ska Ava Bjork, aka Ava Everheart), jointly and severally, the sum of
$365,000.00.

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JUDGMENT ON JURY VESDICT

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Plaintifis Kelli Peters, Syduie Poters (identified in this exse as JANE, DOE) and Bill Peters,
Sen nn env noni Kent Ws Das 4 sum of $1,500,000.00 in punitive
damages.

Pinintiffs Kelli Peters, Sydnic Peters (identified in this case as JANE DOE) and Bl Peters
shall jointly have and recover against Jill B. Haster (ska Ava Easter, aka Ava Biork, aka Ava
Everheart) the total eam of $2,100,000.00 in punitive damages,

Plaintiffs shall kave end recover interest on all of the above sama st the rte of ten percent
1(10%6) per suman from the date of the entry of this judgment until paid.

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